Case 8:05-cr-00050-RAL-MAP Document 51 Filed 08/19/05 Page 1 of 6 PageID 171
Case 8:05-cr-00050-RAL-MAP Document 51 Filed 08/19/05 Page 2 of 6 PageID 172
Case 8:05-cr-00050-RAL-MAP Document 51 Filed 08/19/05 Page 3 of 6 PageID 173
Case 8:05-cr-00050-RAL-MAP Document 51 Filed 08/19/05 Page 4 of 6 PageID 174
Case 8:05-cr-00050-RAL-MAP Document 51 Filed 08/19/05 Page 5 of 6 PageID 175
Case 8:05-cr-00050-RAL-MAP Document 51 Filed 08/19/05 Page 6 of 6 PageID 176
